 Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 1 of 53 Page ID #:3327




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 7
                        UNITED STATES DISTRICT COURT
 8                    CENTRAL DISTRICT OF CALIFORNIA
 9                               EASTERN DIVISION

10   DANIELLE GAMINO, individually           Case No.: 5:20-cv-01126-SB (SHK)
11   and on behalf of all others similarly
     situated,
12
13         Plaintiff,
                                             FIRST AMENDED COMPLAINT
14   v.                                      FOR VIOLATIONS OF ERISA
15
     KPC HEALTHCARE HOLDINGS,                CLASS ACTION
16   INC., KPC HEALTHCARE, INC.
17   EMPLOYEE STOCK OWNERSHIP
     PLAN COMMITTEE, ALERUS
18   FINANCIAL, N.A., KALI PRADIP
19   CHAUDHURI, KALI PRIYO
     CHAUDHURI, AMELIA HIPPERT,
20   WILLIAM E. THOMAS, LORI VAN
21   ARSDALE,
22         Defendants
23
     and
24
25   KPC HEALTHCARE, INC.
     EMPLOYEE STOCK OWNERSHIP
26   PLAN
27
           Nominal Defendant
28

     FIRST AMENDED CLASS ACTION COMPLAINT
 Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 2 of 53 Page ID #:3328




 1 I.      JURISDICTION AND VENUE
 2         1.    Plaintiff brings this action under the Employee Retirement Income
 3 Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1001 et seq. This Court has subject
 4 matter jurisdiction over this action pursuant to ERISA § 502(e)(2), 29 U.S.C. §
 5 1132(e)(2), because this action arises under the laws of the United States and
 6 pursuant to 29 U.S.C. § 1132(e)(1).
 7         2.    Venue is proper in this District pursuant to ERISA § 502(e)(2), 29
 8 U.S.C. § 1132(e)(2), because the breaches and violations giving rise to the claims
 9 occurred in this District, and one or more of the Defendants may be found in this
10 District.
11 II.     INTRODUCTION
12         3.    This ERISA action is brought on behalf of a Class of participants in
13 and beneficiaries of the KPC Healthcare, Inc. Employee Stock Ownership Plan
14 (“the KPC ESOP,” “the ESOP” or “the Plan”) to restore losses to the Plan,
15 disgorge any profits, and to obtain other remedies arising out of Defendants’
16 breaches of fiduciary duties and other violations of ERISA. These claims arise out
17 of a transaction that took place on August 28, 2015 (the “2015 ESOP
18 Transaction”), through which Defendant Kali Pradip Chaudhuri sold 100% of the
19 stock of KPC Healthcare Holdings, Inc. to the ESOP. This transaction was not
20 designed to be in the best interests of the ESOP participants and caused the ESOP
21 to pay in excess of fair market value. Indeed, the ESOP paid a price more than
22 400% greater than the price that Kali Pradip Chaudhuri had been willing to pay for
23 and at which he likely acquired the company just two years earlier—even before
24 taking into account any other consideration that Dr. Chaudhuri received as part of
25 the 2015 ESOP Transaction.
26         4.    In addition, the ESOP Committee, which serves as the Plan
27 Administrator, has not provided disclosures required by ERISA. Prior to filing this
28 lawsuit, Plaintiff sought to obtain a copy of the valuation/appraisal report that set

     CLASS ACTION COMPLAINT                                                                2
 Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 3 of 53 Page ID #:3329




 1 the price which the ESOP paid for the shares and the valuation/appraisal report that
 2 determined the value of her benefits, but the Plan Administrator refused to provide
 3 copies of those reports.
 4        5.     Through this action, Plaintiff seeks to enforce her rights and those of
 5 other participants in the Plan under ERISA, to recover the losses incurred by the
 6 Plan as a result of Defendants’ breaches of fiduciary duty or other violations of
 7 ERISA, and to ensure that the Plan and its assets have been properly administered.
 8 Among the relief sought for these breaches and violations, Plaintiff requests that
 9 the breaching fiduciaries be ordered to pay the losses to the Plan, to disgorge any
10 profits, that the Court order other remedial and equitable relief and that any monies
11 recovered for the Plan be allocated to the accounts of the Class.
12 III.   INTRA-DISTRICT ASSIGNMENT
13        6.     Plaintiff resides in the State of Georgia.
14        7.     Based on Plaintiff’s counsel’s investigation, all but one of Defendants
15 who reside in the District reside in the Eastern Division of the Central District of
16 California (and the other Defendant resides in the Southern Division). Defendant
17 Alerus Financial, N.A. is located outside the State of California.
18        8.     The alleged breaches took place in the Eastern Division of the Central
19 District of California.
20 IV.    PARTIES
21        Plaintiff
22        9.     Plaintiff Danielle Gamino is a former employee of KPC. Plaintiff
23 Gamino was employed as a medical coder by KPC from May 29, 2008 through
24 December 17, 2016, first at Coastal Communities Hospital (now known as South
25 Coast Global Medical Center) and then at the Orange County Global Medical
26 Center, both in Santa Ana, California. As a result of her employment, Plaintiff
27 Gamino became and is a participant, as defined in ERISA § 3(7), 29 U.S.C. §
28
     FIRST AMENDED CLASS ACTION COMPLAINT
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 Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 4 of 53 Page ID #:3330




 1 1002(7), in the KPC ESOP because she has a colorable claim for additional
 2 benefits under the Plan. Plaintiff Gamino resides in Buford, Georgia.
 3        Defendants
 4        10.    Defendant KPC Healthcare Holdings, Inc. (“KPC”) is and has been a
 5 California Corporation with its principal place of business in Riverside, California
 6 (according to the Summary Plan Description) or Corona, California (according to
 7 statements of information filed with the California Secretary of State). Since the
 8 inception of the ESOP, KPC has been the sponsor of the ESOP within the meaning
 9 of ERISA § 3(16)(B), 29 U.S.C. § 1002(16)(B). Pursuant to KPC’s authority to
10 appoint and remove other fiduciaries of the ESOP, including the Trustee and the
11 members of the ESOP Committee, KPC is and was a fiduciary of the ESOP under
12 ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A). The current version of the Summary
13 Plan Description for the ESOP identifies KPC’s address as 6800 Indiana Avenue,
14 Suite 130, Riverside CA 92506 (i.e. in the Eastern Division of this District).
15        The Committee Defendants
16        11.    Defendant KPC Healthcare, Inc. Employee Stock Ownership Plan
17 Committee (the “ESOP Committee”) is identified as the plan administrator in the
18 ESOP’s Plan Document within the meaning of ERISA § 3(16)(A), 29 U.S.C §
19 1002(16)(A). Pursuant to Section 11.15 of the written instrument of the Plan, the
20 ESOP Committee is one of the named fiduciaries of the ESOP within the meaning
21 of ERISA § 402, 29 U.S.C. § 1102. The ESOP Committee meets the definition of a
22 person within the meaning of ERISA § 3(9), 29 U.S.C. § 1002(9), because ERISA
23 defines the term person broadly and because a committee meets the definition of an
24 association or an unincorporated organization. The Committee’s address is
25 believed to be 6800 Indiana Avenue, Suite 130, Riverside CA 92506 (i.e. in the
26 Eastern Division of this District).
27        12.    The “Committee Defendants” means the ESOP Committee and the
28 members of the Committee. According to the notes to the financial statements in
   FIRST AMENDED CLASS ACTION COMPLAINT
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 Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 5 of 53 Page ID #:3331




 1 Form 5500s filed with the United States Department of Labor, all members of the
 2 Board of Directors serve and have served on the ESOP Committee. As a result of
 3 the ESOP Committee being designated as the Plan Administrator and a named
 4 fiduciary of the ESOP under the terms of the Plan, and because the ESOP
 5 Committee and its members having discretionary authority or responsibility for the
 6 administration of the Plan, the ESOP Committee and its members are and were
 7 fiduciaries of the ESOP within the meaning of ERISA § 3(21)(A), 29 U.S.C §
 8 1002(21)(A).
 9        The Trustee
10        13.    Defendant Alerus Financial, N.A. (“Alerus”) acted as Trustee of the
11 ESOP in connection with the 2015 ESOP Transaction. Alerus was appointed as the
12 Trustee of the KPC ESOP pursuant to the KPC Healthcare, Inc. Employee Stock
13 Ownership Trust dated April 1, 2015 (the “Trust Agreement”). Since the 2015
14 ESOP Transaction, Alerus has continued to be the Trustee of the KPC ESOP.
15 Pursuant to Section 11.15 of the written instrument of the Plan, the Trustee is one
16 of the named fiduciaries of the ESOP within the meaning of ERISA § 402, 29
17 U.S.C. § 1102. As a result of being the Trustee of the KPC ESOP, Alerus has been
18 a fiduciary of the ESOP within the meaning of ERISA § 3(21)(A), 29 U.S.C. §
19 1002(21)(A). Alerus is headquartered in Grand Forks, North Dakota.
20        The Board of Directors
21        14.    Defendant Kali Pradip Chaudhuri (“Dr. Chaudhuri”) is the Chief
22 Executive Officer of KPC and the chairman of its board of directors. By virtue of
23 his position as CEO, membership on the KPC Board of Directors and his
24 membership on the ESOP Committee, Kali Pradip Chaudhuri is and has been a
25 fiduciary of the ESOP within the meaning of ERISA § 3(21)(A), 29 U.S.C. §
26 1002(21)(A), since at least the time of 2015 ESOP Transaction. At the time of the
27 2015 ESOP Transaction, Dr. Chaudhuri was a “party in interest” as to the ESOP as
28 defined in ERISA § 3(14) (A) and (H), 29 U.S.C. § 1002(14) (A) and (H). Prior to
   FIRST AMENDED CLASS ACTION COMPLAINT
                                          5
 Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 6 of 53 Page ID #:3332




 1 the 2015 ESOP Transaction, Kali Pradip Chaudhuri was the sole shareholder of
 2 KPC. He sold his shares to the ESOP in the 2015 ESOP Transaction. Dr.
 3 Chaudhuri resides in Hemet, CA in Riverside County (i.e., in the Eastern Division
 4 of this District).
 5        15.    Defendant Kali Priyo Chaudhuri, the son of Defendant Kali Pradip
 6 Chaudhuri, is the Chief Financial Officer of KPC, and is a member of its Board of
 7 Directors of KPC. Defendant Kali Priyo Chaudhuri was a member of the Board at
 8 the time of the 2015 ESOP Transaction. By virtue of his membership on the KPC
 9 Board of Directors and in turn, membership on the ESOP Committee, Kali Priyo
10 Chaudhuri is and has been a fiduciary of the ESOP within the meaning of ERISA §
11 3(21)(A), 29 U.S.C. § 1002(21)(A), since at least the time of 2015 ESOP
12 Transaction. Kali Priyo Chaudhuri resides in Tustin, CA in Orange County (i.e., in
13 the Southern Division of this District).
14        16.    Defendant Amelia Hippert is a member of the KPC Board of
15 Directors. Defendant Amelia Hippert was appointed to the Board after the 2015
16 ESOP Transaction. By virtue of her membership on the KPC Board of Directors,
17 and in turn, membership on the ESOP Committee, Amelia Hippert is and has been
18 a fiduciary of the ESOP within the meaning of ERISA § 3(21)(A), 29 U.S.C. §
19 1002(21)(A) since at least the time of her appointment to the KPC Board of
20 Directors. Amelia Hippert resides in Hemet, CA in Riverside County (i.e. in the
21 Eastern Division of this District).
22        17.    Defendant William E. Thomas is the secretary of KPC, in-house
23 counsel for KPC, and a member of the Board of Directors of KPC. Defendant
24 William E. Thomas was a member of the Board at the time of the 2015 ESOP
25 Transaction. Upon information and belief, Defendant Thomas has been Defendant
26 Kali Pradip Chaudhuri’s long-standing attorney. By virtue of his membership on
27 the KPC Board of Directors, and in turn, membership on the ESOP Committee,
28 William E. Thomas is and has been a fiduciary of the ESOP within the meaning of
   FIRST AMENDED CLASS ACTION COMPLAINT
                                          6
 Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 7 of 53 Page ID #:3333




 1 ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), since at least the time of 2015 ESOP
 2 Transaction.
 3
 4
 5                                                                    Upon
 6 information and belief, Defendant Thomas resides in Riverside County (i.e., the
 7 Eastern Division of this District).
 8        18.     Defendant Lori Van Arsdale is a member of the KPC board of
 9 directors. Defendant Lori Van Arsdale was appointed to the Board after the 2015
10 ESOP Transaction. By virtue of her membership on the KPC Board of Directors,
11 and in turn, membership on the ESOP Committee, Lori Van Arsdale is and has
12 been at all relevant times been a fiduciary of the ESOP within the meaning of
13 ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), since at least the time of her
14 appointment to the KPC Board of Directors. Defendant Van Arsdale resides in
15 Hemet, CA in Riverside County (i.e., in the Eastern Division of this District).
16        19.     The “Director Defendants” are Kali Pradip Chaudhuri, Kali Priyo
17 Chaudhuri, Amelia Hippert, William E. Thomas, and Lori Van Arsdale.
18        Nominal Defendant
19        20.     Nominal Defendant KPC Healthcare, Inc. Employee Stock Ownership
20 Plan, a/k/a the KPC Healthcare, Inc. ESOP (the “KPC ESOP”), is an “employee
21 pension benefit plan” within the meaning of ERISA § 3(2)(A), 29 U.S.C. §
22 1002(2)(A). As the Plan Administer is located in Riverside, California, the Plan is
23 also believed to be administered in Riverside, California. The ESOP purports to be
24 a “defined contribution plan” within the meaning of ERISA § 3(34), 29 U.S.C. §
25 1002(34), and an employee stock ownership plan under ERISA § 407(d)(6) that
26 was intended to meet the requirements of Section 4975(e)(7) of the Internal
27 Revenue Code (the “Code”) and IRS Regulations § 54.4975-11. The written
28 instrument, within the meaning of ERISA § 402, 29 U.S.C. §1102, by which the
   FIRST AMENDED CLASS ACTION COMPLAINT
                                          7
 Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 8 of 53 Page ID #:3334




 1 Plan is maintained is the KPC Healthcare, Inc. Employee Stock Ownership Plan
 2 (the “Plan Document”), effective as of April 1, 2015. The ESOP is named as a
 3 nominal defendant pursuant to Rule 19 to ensure that complete relief can be
 4 granted as to claims brought on behalf of the ESOP.
 5 V.     CLASS ACTION ALLEGATIONS
 6        21.    Plaintiff brings these claims as a class action pursuant to Fed. R. Civ.
 7 P. 23 (a) and (b), on behalf of the following Class:
 8        All participants in the KPC ESOP from August 28, 2015 or any time
 9        thereafter (unless they terminated employment without vesting in the ESOP)
10        and those participants’ beneficiaries.
11        Excluded from the Class are (a) Defendants, (b) any fiduciary of the Plan;
12        (c) the officers and directors of KPC or of any entity in which one of the
13        individual Defendants has a controlling interest; (d) the immediate family
14        members of any of the foregoing excluded persons, and (e) the legal
15        representatives, successors, and assigns of any such excluded persons.
16        Impracticability of Joinder
17        22.    The members of the Class are so numerous that joinder of all
18 members is impracticable. According to the 2018 Form 5500 filed with the
19 Department of Labor, which is the most recent available Form 5500, there were
20 2,655 participants (including 2,132 active participants, 228 retired or separated
21 participants receiving benefits and 283 retired or separated participants entitled to
22 future benefits) within the meaning of ERISA § 3(7), 29 U.S.C. § 1002(7), in the
23 ESOP as of August 31, 2019.
24        Commonality
25        23.    The issues of liability are common to all members of the Class and are
26 capable of common answers as those issues primarily focus on Defendants’ acts
27 (or failure to act). Questions of law and fact common to the Plaintiff Class as a
28 whole include, but are not limited to, the following:
   FIRST AMENDED CLASS ACTION COMPLAINT
                                              8
 Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 9 of 53 Page ID #:3335




 1               a.      Whether Defendant Alerus caused the ESOP to engage in
 2        prohibited transactions under ERISA by causing or permitting the ESOP to
 3        purchase KPC stock for more than adequate consideration in the 2015 ESOP
 4        Transaction;
 5               b.      Whether Defendants Dr. Chaudhuri and William Thomas
 6        knowingly participated in those prohibited transactions;
 7               c.      Whether Alerus engaged in a prudent investigation of the
 8        proposed purchase of KPC stock by the ESOP in the 2015 ESOP
 9        Transaction;
10               d.      Whether Alerus breached its fiduciary duty to ESOP
11        participants by causing the ESOP to purchase KPC stock in 2015 for more
12        than fair market value;
13               e.      Whether the Committee Defendants violated certain disclosure
14        provisions of ERISA or otherwise breached their fiduciary duties;
15               f.      Whether KPC (and/or the Director Defendants) breached their
16        fiduciary duties by failing to adequately monitor the ESOP’s Trustee and the
17        Committee Defendants;
18               g.      Whether certain provisions of the Plan Document and Trust
19        Agreement violate ERISA § 410;
20               h.      The amount of losses suffered by the ESOP as a result of
21        Defendants’ fiduciary violations and the nature of other appropriate remedial
22        or equitable relief to remedy Defendants’ breaches or violations.
23        Typicality
24        24.    Plaintiff’s claims are typical of those of the Class because their claims
25 arise from the same event, practice and/or course of conduct. Specifically, Plaintiff,
26 on behalf of the Class, alleges that Defendants breached their fiduciary duties,
27 engaged in prohibited transactions or otherwise violated ERISA in connection with
28 the sale of stock to the ESOP, management of the Plan or in performing their
   FIRST AMENDED CLASS ACTION COMPLAINT
                                          9
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 10 of 53 Page ID #:3336




 1 fiduciary duties to the Plan. Plaintiff challenges the legality and appropriateness of
 2 a plan-wide transaction and disclosures, and Plaintiff like other ESOP participants
 3 in the Class, has received less in her ESOP account based on the same per share
 4 purchase price of KPC stock, and continue to suffer such losses in the present
 5 because Defendants have failed to correct the overpayment by the ESOP.
 6         Adequacy
 7         25.     Plaintiff will fairly and adequately represent and protect the interests
 8 of the Class.
 9         26.     Plaintiff does not have any interests antagonistic to or in conflict with
10 those of the Class.
11         27.     Defendants do not have any unique defenses against Plaintiff that
12 would interfere with Plaintiff’s representation of the Class.
13         28.     Plaintiff is represented by counsel with experience in complex class
14 actions, ERISA, and with particular experience and expertise in ESOP litigation.
15 Plaintiff’s counsel has been appointed as class counsel in numerous class action
16 ESOP cases.
17         Fed. R. Civ. P. Rule 23(b)(1)
18         29.     Class certification is appropriate pursuant to Fed. R. Civ. P.
19 23(b)(1)(A). Fiduciaries of ERISA-covered plans have a legal obligation to act
20 consistently with respect to all similarly situated participants and to act in the best
21 interests of the Plan and their participants. This action challenges whether
22 Defendants acted consistently with their fiduciary duties or otherwise violated
23 ERISA as to the ESOP as a whole. As a result, prosecution of separate actions by
24 individual members would create the risk of inconsistent or varying adjudications
25 that would establish incompatible standards of conduct relating to the Plan.
26         30.     Class certification is also appropriate pursuant to Fed. R. Civ. P.
27 23(b)(1)(B). Administration of an ERISA-covered plan requires that all similarly
28 situated participants be treated the same. Resolving whether Defendants fulfilled
   FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 11 of 53 Page ID #:3337




 1 their fiduciary obligations to the Plans, engaged in prohibited transactions with
 2 respect to the Plan would, as a practical matter, be dispositive of the interests of the
 3 other participants in the ESOP even if they are not parties to this litigation and
 4 would substantially impair or impede their ability to protect their interests if they
 5 are not made parties to this litigation by being included in the Class.
 6         Fed. R. Civ. P. Rule 23(b)(2)
 7         31.    Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2)
 8 because Defendants have acted or refused to act on grounds generally applicable to
 9 the Class, making appropriate declaratory and injunctive relief with respect to
10 Plaintiff and the Class as a whole. This action challenges whether Defendants acted
11 consistently with their fiduciary duties or otherwise violated ERISA as to the
12 ESOP as a whole. The members of the Class are entitled to declaratory and
13 injunctive relief to remedy Defendants’ fiduciary violations. As ERISA is based on
14 trust law, any monetary relief consists of equitable monetary relief and is either
15 provided directly by the declaratory or injunctive relief or flows as a necessary
16 consequence of that relief.
17         Fed. R. Civ. P. Rule 23(b)(3)
18         32.    The requirements of Fed. R. Civ. P. 23(b)(3) are also satisfied.
19 Common questions related to liability will necessarily predominate over any
20 individual questions precisely because Defendants’ duties and obligations were
21 uniform to all participants and therefore all members of the Class. Plaintiff and all
22 Class members have been harmed by the ESOP paying more than fair market value
23 for KPC stock in the 2015 ESOP Transaction. As relief and any recovery will be
24 on behalf of the Plan, common questions as to remedies will likewise predominate
25 over any individual issues.
26         33.    A class action is a superior method to other available methods for the
27 fair and efficient adjudication of this action. As the claims are brought on behalf of
28 the Plan, resolution of the issues in this litigation will be efficiently resolved in a
   FIRST AMENDED CLASS ACTION COMPLAINT
                                               11
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 12 of 53 Page ID #:3338




 1 single proceeding rather than multiple proceedings and each of those individual
 2 proceedings could seek recovery for the entire Plan. The losses suffered by
 3 individual Class members are small compared to the expense and burden of
 4 individual prosecution of this action. In addition, class certification is superior
 5 because it will obviate the need for unduly duplicative litigation which might result
 6 in inconsistent judgments about Defendants’ duties with regard to the ESOP.
 7         34.      The following factors set forth in Rule 23(b)(3) also favor certification
 8 of this case as a class action:
 9               a. The members of the Class have an interest in a unitary adjudication of
10                  the issues presented in this action for the reasons that this case should
11                  be certified under Rule 23(b)(1).
12               b. No other litigation concerning this controversy has been filed by any
13                  other members of the Class.
14               c. This District is most desirable location for concentrating the litigation
15                  for reasons that include (but are not limited to) the following: (i) KPC
16                  is headquartered in this District, (ii) the KPC ESOP is administered in
17                  this District, (iii) most of Defendants reside, work and transact
18                  business in this District, and (iii) certain non-party witnesses are
19                  located in this District.
20               d. The names and addresses of the members of the Class are available
21                  from the ESOP. Notice can be provided to all members of the Class to
22                  the extent required by Rule 23.
23 VI.     FACTUAL ALLEGATIONS
24         Defendant Dr. Kali Pradip Chaudhuri Finances the Acquisition of Four
25         Hospitals Over Community Objections
26
           35.      Integrated Healthcare Holdings, Inc. (“Integrated Health”) was
27
     formerly a publicly traded medical holding company. According to Integrated
28
     FIRST AMENDED CLASS ACTION COMPLAINT
                                 12
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 13 of 53 Page ID #:3339




 1 Health’s Form 10-K for the fiscal year ended March 31, 2013, the company had no
 2 material operations until March 8, 2005, when it acquired four Orange County,
 3 California hospitals previously operated by Tenet Healthcare Corp.: Western
 4 Medical Center in Santa Ana; Western Medical Center in Anaheim; Coastal
 5 Communities Hospital in Santa Ana; and Chapman Medical Center in Orange.
 6 Integrated Health purchased the hospitals in part through debt financing provided
 7 by Defendant Dr. Chaudhuri.
 8        36.    According to an article entitled “KCP Healthcare Bets on ESOP”
 9 published in the Orange County Business Journal on March 13, 2017, in 2005 Dr.
10 Chaudhuri initially led Integrated Health’s bid to acquire the four Tenet hospitals.
11        37.    Integrated Health’s acquisition of these hospitals was met with vocal
12 public opposition because of Dr. Chaudhuri’s involvement. One of Dr.
13 Chaudhuri’s other companies, KPC Medical Management Inc., went bankrupt
14 shortly after acquiring the Southern California provider network of MedPartners,
15 resulting in the abrupt closure of 38 California clinics and abruptly leaving 300,000
16 patients without medical care.
17        38.    The KPC Medical Management bankruptcy was dogged by
18 allegations of financial mismanagement and self-dealing by Dr. Chaudhuri.
19 According to an article entitled “KPC Filings Spur More Questions” published by
20 the California American College of Emergency Physicians in February of 2001, a
21 bankrupt affiliate of KPC Medical Management paid $5 million to Dr. Chaudhuri
22 in January 2000, even as KPC Medical Management was negotiating with HMOs
23 for a bailout loan. The week before KPC Medical Management filed for
24 bankruptcy, it paid $1.5 million to its attorneys, including $150,000 to Dr.
25 Chaudhuri’s personal attorney Defendant William Thomas (after he had already
26 resigned as corporate counsel to KPC Medical Management). And creditors
27 alleged that Chaudhuri had improperly moved assets between KPC Medical
28 Management and his other businesses.
   FIRST AMENDED CLASS ACTION COMPLAINT
                                        13
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 14 of 53 Page ID #:3340




 1        39.    According to documents filed in litigation between Dr. Chaudhuri and
 2 Defendant William E. Thomas, among others, on the one hand, and two Southern
 3 California physician groups on the other hand, Dr. Chaudhuri systematically looted
 4 MedPartners—shutting down facilities, firing doctors and staff members, all under
 5 the pretense of cutting costs. Meanwhile, Dr. Chaudhuri lined his own pockets
 6 while continuing to draw income from MedPartners while refusing to pay
 7 independently contracted specialty physicians. Dr. Chaudhuri even had staff write
 8 checks to show health plans payments were being made while instructing them to
 9 stash those same checks in locked filing cabinets (instead of mailing them). Within
10 the first 18 months following the MedPartners acquisition, $30 million in assets
11 had disappeared from the company and it had run up debts of $450 million.
12        40.    In response to Dr. Chaudhuri’s contemplated involvement in the
13 Integrated Health purchase of the Tenet hospitals, a spokeswoman for the
14 California Department of Health Services stated that they had “concerns… about
15 the applicant’s reputable and responsible character.” California state senators
16 Joseph Dunn and Deborah Ortiz stated in a letter to the director of the DHS that
17 they were “deeply concerned” about Chaudhuri’s involvement in the venture and
18 sought “assurances that Dr. Chaudhuri’s role would not result in the [Western
19 Medical-Santa Ana] hospital going the KPC route.”
20        41.    According to a January 27, 2005 OC Weekly article entitled, “Now
21 With Less Chaudhuri!” then current and former chiefs of staff at the Western
22 Medical of Santa Ana trauma facility, Michael Fitzgibbons, and Robert Steedman,
23 opposed the deal because of Dr. Chaudhuri’s involvement. Together with more
24 than 70 other doctors, they created a competing acquisition group, Western
25 Medical Center Acquisition, LLC, and organized protests of the Integrated Health
26 purchase. But Fitzgibbons and Steedman were intimidated into silence and
27 acquiescence to the Integrated Health transaction by Dr. Chaudhuri’s litigation
28 threats. Following the acquisition, Fitzgibbons would continue to face retaliation.
   FIRST AMENDED CLASS ACTION COMPLAINT
                                             14
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 15 of 53 Page ID #:3341




 1 The CEO of Integrated Health, Bruce Mogel, planted a loaded handgun in
 2 Fitzgibbon’s car and called the police on him. Mogel also caused Fitzgibbon’s
 3 daughter to be in a serious auto accident after her tires were slashed. Fitzgibbon
 4 would later win a $5.7 million jury verdict against both Integrated Health and
 5 Mogel for this conduct.
 6        42.    As a result of the opposition by the public, doctors, regulatory
 7 authorities, and legislators to Chaudhuri’s involvement in another acquisition of
 8 medical facilities, Dr. Chaudhuri reduced his planned stake in Integrated Health
 9 and its acquisition of the Tenet hospitals. According to a March 21, 2005 article in
10 the Los Angeles Times entitled “Doctors Operate This Company,” Dr, Chaudhuri
11 took a reduced role at Integrated Health as part of its acquisition of the Tenet
12 hospitals, providing debt financing for the transaction instead of a substantial
13 equity investment. Cardiologist Anil Shah (“Shah”) and a consortium of doctors
14 led by him, Orange County Physicians Investment Network LLC (“OCPIN”)
15 provided the bulk of the equity investment and took an 83% ownership interest in
16 Integrated Health. Chaudhuri also owned 49% of a real estate subsidiary formed by
17 OCPIN to own land associated with three of the four hospitals. And Dr. Chaudhuri
18 and his lawyer—Defendant William E. Thomas—retained a right to purchase up to
19 25% of Integrated Health.
20        43.    In that same March 21, 2005 article in the Los Angeles Times, Shah
21 claimed that no one should be concerned by Dr. Chaudhuri’s involvement in
22 Integrated Health, because “He will never have a controlling interest.” At the same
23 time, according to the California Healthcare Daily Edition, Larry Anderson,
24 president of Integrated Health, “repeatedly assured critics that Chaudhuri would
25 have no role in the daily operations of the facilities….”
26        Integrated Health’s Stock Performance & Value 2010 to 2013
27        44.    From April 2010 to March 2011, shares of Integrated Health traded on
28 the OTCQB Venture Market at prices between $0.02 and $0.07 per share. Based
   FIRST AMENDED CLASS ACTION COMPLAINT
                                        15
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 16 of 53 Page ID #:3342




 1 on the 255,307,262 shares of common stock of Integrated Health outstanding
 2 between April 2010 and March 2011, these stock prices imply a market
 3 capitalization and equity value of between approximately $5.1 million and $17.9
 4 million during that period.
 5         45.   According to Integrated Health’s 2011 Form 10-K, for the fiscal year
 6 ending March 31, 2011, Integrated Health had assets of $149.2 million and
 7 liabilities of $167.8 million, for a stockholders’ deficiency of approximately $18.7
 8 million.
 9         46.   From April 2011 to March 2012, shares of Integrated Health traded on
10 the OTCQB Venture Market at prices between $0.01 and $0.22 per share. Based
11 on the 255,307,262 shares of common stock of Integrated Health outstanding
12 between April 2011 and March 2012, these stock prices imply a market
13 capitalization and equity value of between approximately $2.6 million and $56.2
14 million during that period.
15         47.   According to Integrated Health’s 2012 Form 10-K, for the fiscal year
16 ending March 31, 2012, Integrated Health had assets of $145 million and liabilities
17 of $157 million, for a stockholders’ deficiency of $11 million.
18         48.   From April 2012 to March 2013, shares of Integrated Health traded on
19 the OTCQB Venture Market at prices between $0.04 and $0.11 per share. Based
20 on the 255,307,262 shares of common stock of Integrated Health outstanding at
21 that time, this implies a market capitalization and equity value of between
22 approximately $10.2 million and $28.1 million between April 2012 and March
23 2013.
24         49.   According to Integrated Health’s 2013 Form 10-K, for the fiscal year
25 ending March 31, 2013, Integrated Health had assets of $167 million and liabilities
26 of $197 million, for a stockholders’ deficiency of $30 million.
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     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 17 of 53 Page ID #:3343
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 18 of 53 Page ID #:3344




 1 to the principal terms of a proposed transaction in which Dr. Chaudhuri or his
 2 affiliate will acquire an aggregate of 100,110,430 shares of common stock” held by
 3 Shah, OCPIN, and a Mr. Hari S. Lal. Dr. Chaudhuri further stated that after closing
 4 those purchases he intended to “acquire all of the remaining shares of common
 5 stock of the Issuer.”
 6        56.   According to an Amended Schedule 13-D filed by Silver Point
 7 Capital, L.P. with the SEC on September 12, 2013, Defendant Kali Pradip
 8 Chaudhuri agreed to pay $0.203 per share to acquire these 100,110,430 shares of
 9 Integrated Health stock and planned “a second step, ‘short-form’ merger in
10 accordance with the laws of the State of Nevada pursuant to which all other
11 shareholders of the Issuer would receive merger consideration that would
12 approximate the consideration per share received by the Selling Shareholders.”
13        57.   According to the Form 10-Q filed by Integrated Health with the
14 Securities and Exchange Commission on November 14, 2013, Integrated Health
15 had 255,307,262 shares of stock outstanding as of November 7, 2013—the same
16 number that it had outstanding as of August 7, 2013, according to the Form 10-Q
17 filed by Integrated Health with the Securities and Exchange Commission on
18 August 14, 2013.
19        58.   The terms Dr. Chaudhuri disclosed under which he would acquire
20 100% of the outstanding common stock of Integrated Health therefore implied a
21 value to the entire company of approximately $51,827,374 (255,307,262 shares at
22 $0.203/share).
23        59.   Integrated Health then terminated the registration of its securities with
24 the SEC effective January 7, 2014.
25        60.   On information and belief, Dr. Chaudhuri consummated the planned
26 purchase of 100,110,430 shares of Integrated Health stock from Shah, OCPIN, and
27 Mr. Lal. for $0.203 per share.
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     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 19 of 53 Page ID #:3345




 1         61.    According to contemporaneous postings to InvestorsHub, an internet
 2 forum for discussion of stock trades, remaining shareholders of Integrated Health
 3 were cashed out at a price of $0.203 per share in May of 2014—the price at which
 4 Dr. Chaudhuri had previously disclosed he would acquire 100% of the outstanding
 5 stock of Integrated Health.
 6         62.    Dr. Chaudhuri acquired all the outstanding stock of Integrated Health
 7 through these transactions.
 8         63.
 9
10
11                                                             .
12         Defendant Dr. Kali Pradip Chaudhuri Renames Integrated Health as
13         KPC and Sells the Company to the ESOP at an Inflated Price
14
           64.    Between 2013 and 2015, Integrated Health experienced financial
15
     distress. Repeated rounds of layoffs and rehirings had long been characteristic of
16
     Integrated Health’s employment practices. As a result of the financial difficulties
17
     and related layoffs, employees such as Plaintiff Gamino believed that their
18
     employment was increasingly precarious and were never sure if they would be
19
     employed the next day.
20
           65.    According to the Articles of Incorporation obtained from the State of
21
     California Secretary of State, KPC was incorporated on July 24, 2015.
22
           66.    According to an article published in the Press Enterprise on June 11,
23
     2015, KPC was a new name for Integrated Health, which Defendant Kali Pradip
24
     Chaudhuri had taken private in 2014.
25
           67.    According to an article published in the Orange County Business
26
     Journal on March 13, 2017, entitled “KPC Healthcare Bets on ESOP,” KPC was
27
     owned by Defendant Kali Pradip Chaudhuri prior to the 2015 ESOP Transaction.
28
     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 20 of 53 Page ID #:3346




 1 In that article, Dr. Chaudhuri is quoted as stating that “I give my shares to
 2 [employees] but if they stay for five years [or more], it’s a win for us.” (emphasis
 3 added; brackets in original). By this statement, Dr. Chaudhuri acknowledged that
 4 he sold his share to the ESOP.
 5        68.    According to the 2015 Form 5500 filed with the Department of Labor
 6 on June 15, 2017, KPC Healthcare adopted the ESOP effective April 1, 2015.
 7        69.    On August 28, 2015, Alerus, acting as Trustee of the ESOP, caused
 8 the ESOP to purchase 100% of the shares of KPC common stock.
 9        70.
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     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 21 of 53 Page ID #:3347




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     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 22 of 53 Page ID #:3348




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 2                    .
 3        77.   To finance the purchase, the Plan entered into a $207,574,000 term
 4 loan agreement with KPC. The remaining $10,000,000 was paid by a contribution
 5 of cash from KPC to the Plan.
 6        78.   This purchase price for the KPC stock component of the 2015 ESOP
 7 Transaction represented a more than 419% increase over the equity value implied
 8 by Defendant Kali Pradip Chaudhuri’s 2013 proposed and presumed price to
 9 acquire the company’s stock when it was known as Integrated Health.
10        79.   This purchase price for the KPC stock component of the 2015 ESOP
11 Transaction also represented an increase of between 774% and 2,133% from the
12 equity value implied by the prices at which Integrated Health traded on the public
13 market between April 2012 and March 2013.
14        80.   This purportedly spectacular rise in KPC’s equity value is belied by
15 KPC’s operating results. In a June 16, 2018 interview with KPC’s then-CEO
16 Suzanne Richards, in Modern Healthcare, Ms. Richards candidly admitted that
17 approximately three years before KPC was losing money: “When I came in, the
18 facilities were not even close to making budget, and when you can't make budget
19 you can't have a profit.” She further acknowledged that her tenure had been
20 marked by “reductions in force.” Indeed, the introductory section of the interview
21 explained that when Ms. Richards started at KPC, the four hospitals that KPC then
22 owned “were losing $2.5 million a month.” A June 19, 2015 article in the Orange
23 County Business Journal, “KPC Health Names Richards CEO of Health
24 Operations,” reported that she was named to that position as of June 2015 and had
25 served as interim CEO since October 2014.
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     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 23 of 53 Page ID #:3349




 1         81.   As shown by the chart below, the reported equity value of the ESOP’s
 2 KPC stock declined precipitously following the 2015 ESOP Transaction and has
 3 remained far below the purchase price:
 4
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14         82.   As explained by the Form 5500s filed with the Department of Labor,

15 the funds borrowed by the ESOP to finance the purchase of KPC are
16 “collateralized by the unallocated shares of stock and guaranteed by the
17 Company.” But “[t]he lenders have no rights against shares once they are
18 allocated under the ESOP.” As explained by the Form 5500, the financial
19 statements present separately the assets and liabilities of the stock allocated to the
20 accounts of participants from the assets and liabilities of the unallocated shares.
21 As the acquisition indebtedness is only a liability of the unallocated shares, the
22 acquisition debt cannot explain the post-acquisition depressed price of the
23 allocated shares.
24       83. According to the 2015 Form 5500 filed with the Department of Labor

25 on June 15, 2017, the purported fair market value for the KPC stock held by the
26 ESOP was $27,600,000 as of August 31, 2015.
27
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     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 24 of 53 Page ID #:3350




 1         84.   According to the 2015 Form 5500 filed with the Department of Labor
 2 on June 15, 2017, the purported fair market value for the KPC stock held by the
 3 ESOP was $56,000,000 as of August 31, 2016.
 4         85.   According to the 2016 Form 5500 filed with the Department of Labor
 5 on February 19, 2019, the purported fair market value for the KPC stock held by
 6 the ESOP was $103,000,000 as of August 31, 2017.
 7         86.   According to the 2017 Form 5500 filed with the Department of Labor
 8 on February 4, 2019, the purported fair market value for the KPC stock held by the
 9 ESOP was $123,000,000 as of August 31, 2018.
10         87.   According to the 2018 Form 5500 filed with the Department of Labor
11 on July 9, 2020, the purported fair market value for the KPC stock held by the
12 ESOP was $123,500,000 as of August 31, 2019.
13         88.   The ESOP paid more than fair market value for KPC stock in the
14 2015 ESOP Transaction. Based on the information available prior to filing this
15 lawsuit and information obtained in discovery, the purchase price for the 2015
16 ESOP Transaction was based in part on a valuation report that was unreliable and
17 did not take into account the fact that less than two years before the transaction the
18 selling shareholder had valued the Company at less than a quarter of the sale price
19 and that during the intervening period the Company had experienced substantial
20 financial distress, instability, layoffs, and persistent inability to make budgets.
21         89.   A prudent fiduciary who had conducted a prudent investigation would
22 have concluded that the ESOP was paying more than fair market value for the KPC
23 shares and/or the debt incurred in connection with the Transaction was excessive.
24 Defendant Kali Pradip Chaudhuri’s proposal to acquire the Company’s predecessor
25 in late 2013 was a matter of public record and was known or ought to have been
26 known to the fiduciaries of the Plan.
27         90.   All of the Defendants would have had access to the financial
28 information upon which the valuation for the 2015 ESOP Transaction was based
   FIRST AMENDED CLASS ACTION COMPLAINT
                                          24
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 25 of 53 Page ID #:3351




 1 and the fiduciaries for the ESOP would have had access to the valuation report
 2 itself. The valuation report was not provided to the participants of the ESOP. And
 3 the Plan Administrator refused to provide a copy of the valuation to Plaintiff
 4 pursuant to her ERISA § 104(b) request.
 5        91.   Based on documents filed with the Securities and Exchange
 6 Commission, Defendant SPCP Group had been an investor in Integrated Health
 7 since at least 2010 and participated in the 2014 transaction by which Dr. Chaudhuri
 8 took Integrated Healthcare private. Defendant SPCP Group was thus aware that Dr.
 9 Chaudhuri was the chairman and CEO of KPC.
10        92.
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19        93.
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23                                                                  .
24        94.
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26                                   .
27        95.   Even after the 2015 ESOP Transaction closed, the decline in value of
28 the KPC stock owned by the ESOP following the 2015 ESOP Transaction should
   FIRST AMENDED CLASS ACTION COMPLAINT
                                        25
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 26 of 53 Page ID #:3352




 1 have caused Alerus as well as the ESOP Committee (which consisted of all of the
 2 Director Defendants), at a minimum, to investigate whether the ESOP had paid
 3 more than fair market value in the 2015 ESOP Transaction. To the extent that any
 4 of the fiduciary Defendants had conducted such an investigation, that investigation
 5 as well as any corrective measures would have been reported in one of the Form
 6 5500s filed with the Department of Labor. As none of the Form 5500s report any
 7 such investigation or corrective actions, none of the fiduciary Defendants
 8 investigated whether fiduciary violations had occurred in the 2015 ESOP
 9 Transaction despite red flags that should have raised concerns.
10        Defendant Dr. Kali Pradip Chaudhuri Continues to Use the Employee
11        Owned Company to Benefit Insiders
12        96.   Despite his sale of the Company to the ESOP in 2015
13                                                           Defendant Dr. Kali
14 Pradip Chaudhuri continues to exercise operational control over KPC both directly
15 and through a group of personally loyal insiders he has installed as directors and
16 directors of the Company. According to an information statement filed with the
17 California Secretary of State on March 7, 2019, Dr. Chaudhuri is the CEO of KPC
18 as well as the Chairman of the Board.
19       97. According to an information statement filed with the California
20 Secretary of State on March 7, 2019, William E. Thomas is the secretary of and a
21 member of the Board of Directors of KPC. According to a News Release by
22 University of California Riverside dated June 8, 2018, Defendant Thomas is the
23 Executive Vice-President and General Counsel of the KPC Group of Companies.
24 According to information from the California Bar website directory of lawyers,
25 Defendant Thomas lists his business address as the headquarters for KPC Group.
26 Even before joining KPC Group, Defendant Thomas was Dr. Chaudhuri’s attorney.
27       98. According to an information statement filed with the California
28 Secretary of State on March 7, 2019, Defendant Kali Priyo Chaudhuri is the chief
   FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 27 of 53 Page ID #:3353




 1 financial officer and a director of the Company. Defendant Kali Priyo Chaudhuri is
 2 Defendant Kali Pradip Chaudhuri’s son.
 3        99.    Together, Defendant Kali Pradip Chaudhuri, his lawyer, and his son
 4 constitute a majority bloc of the five-person board of directors of KPC.
 5        100. According to a press release issued by “KPC Health” on December 4,
 6 2018, on that date Dr. Sumanta Chaudhuri was appointed the Chief Medical
 7 Officer for Hemet Valley Medical Center and Menifee Valley Medical Center, two
 8 of the hospitals affiliated with KPC. According to a video posted to YouTube by
 9 Defendant Kali Pradip Chaudhuri on January 8, 2018, Dr. Sumanta Chaudhuri is
10 the Defendant’s daughter.
11        101. According to an undated press release issued by “KPC Health,” KPC
12 is a “subsidiary” of KPC Group. KPC Group is Defendant Kali Pradip Chaudhuri’s
13 $10 billion conglomerate with interests in real state, pharmaceuticals, and
14 engineering as well as healthcare. Upon information and belief, KPC is simply
15 treated as one of the group of companies that KPC Group owns.
16        Relevant Provisions of the Plan Document
17        Definitions
18        102. Article I of the Plan Document defines the following terms as follows:
19               a.      ESOP Committee: “ESOP Committee” means the KPC
20        Healthcare Holdings, Inc. Employee Stock Ownership Plan Committee,
21        which members are appointed by the Board, as from time to time
22        constituted.
23               b.      Fiduciary: “Fiduciary” means any person who: (a) exercises
24        any discretionary authority or discretionary control and management of this
25        Plan or exercises any authority or control and management or disposition of
26        Plan assets; (b) renders investment advice for a fee or other compensation,
27        direct or indirect, with respect to any monies or other property of the Trust
28
     FIRST AMENDED CLASS ACTION COMPLAINT
                                 27
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 28 of 53 Page ID #:3354




 1        or has any authority or responsibility to do so; or (c) has any discretionary
 2        authority or discretionary responsibility in the management of this Plan and
 3        the Trust, including, but not limited to, the Trustee, the ESOP Committee,
 4        and any person designated under ERISA Section 405(c)(1)(B).
 5                c.   Plan Administrator: “Plan Administrator” is the ESOP
 6        Committee unless the Company designates another person or persons to hold
 7        the position of Plan Administrator. In addition to its other duties, the Plan
 8        Administrator has full responsibility for compliance with the reporting and
 9        disclosure rules under ERISA.
10                d.   Trust: “Trust” means the KPC Healthcare, Inc. Stock
11        Ownership Trust which is and becomes a part of this Plan.
12                e.   Trustee: “Trustee” means the trustee or trustees acting at the
13        time in question under the Trust, and its or his or her or their successor(s) as
14        such.
15        103. Section 11.15 of the Plan Document provides that the “Named
16 Fiduciaries” of this Plan are (1) the Trustee, (2) the ESOP Committee, (3) the
17 Appeal Committee (if appointed), and (4) any Investment Manager appointed
18 hereunder.
19        The ESOP Committee
20        104. Section 9.1 of the Plan Document provides that “the Company [i.e.
21 KPC] may appoint an ESOP Committee to administer the Plan. In the absence of
22 an ESOP Committee, the Board of Directors assumes the powers, duties and
23 responsibilities of the ESOP Committee.”
24        105. Section 9.3 of the Plan Document provides that “the ESOP Committee
25 is empowered to assist the Trustee to satisfy and operate this Plan in accordance
26 with the terms of this Plan, the Trust, the Code, and ERISA.”
27
28
     FIRST AMENDED CLASS ACTION COMPLAINT
                                 28
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 29 of 53 Page ID #:3355




 1        106. Section 9.4 of the Plan Document provides that the ESOP Committee
 2 has full discretion and authority to perform the following powers and duties,
 3 among others:
 4              a.     To engage the service of agents whom it may deem advisable to
 5                     assist it with the performance of its duties.
 6              b.     To engage the services of an Investment Manager or Managers
 7                     (as defined in ERISA Section 3(38) each of whom will have
 8                     full power and authority to manage, acquire or dispose (or
 9                     direct the Trustee with respect to acquisition or disposition) of
10                     any Plan asset under its control.
11              c.     To construe and interpret this Plan and the rules and regulations
12                     adopted and to answer all questions arising in the
13                     administration interpretation and application of this Plan
14                     document and documents related to this Plan’s operation.
15              d.     To establish procedures, correct any defect, and resolve any
16                     inconsistency in such manner and to such extent as shall be
17                     necessary or advisable to carry out the purpose of this Plan.
18        107. Section 9.6 of the Plan Document provides that “the decision of a
19 majority of the members of the ESOP Committee appointed and qualified
20 controls.”
21        Trustee
22        108. Section 11.15 of the Plan Document provides that “[t]he ESOP
23 Committee shall have the sole responsibility for the administration of this Plan.”
24        109. Section 11.15 of the Plan Document provides that the Trustee shall
25 have the sole responsibility to, among other things, “determine that the purchase
26 price paid to purchase Qualifying Employer Securities does not violate the
27 prohibited transaction rules….”
28
     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 30 of 53 Page ID #:3356




 1        Relevant Provisions of the Trust Agreement
 2        110. Section 2.2 of the Trust Agreement provides that the Trustee “is the
 3 sole discretionary fiduciary with respect to borrowing money with respect to the
 4 purpose of purchasing Employer Securities and for the purchase or sale of
 5 Employer Securities.”
 6        111. Section 2.4(a) of the Trust Agreement provides that the Trustee has
 7 “full discretion and authority… to invest the Trust Fund primarily in Employer
 8 Securities (provided the Trustee does not pay in excess of “Adequate
 9 consideration” and such purchase of Employer Securities would not otherwise
10 constitute a “prohibited transaction” as such terms are defined by ERISA and the
11 Code)....”
12        112. Section 6.4 of the Trust Agreement provides that the Company shall
13 fill any vacancy in the office of Trustee.
14                                         COUNT I
15        Engaging in Prohibited Transaction Forbidden by ERISA §§ 406(a),
    29 U.S.C. §§ 1106(a), Against Defendants Alerus, Dr. Kali Pradip Chaudhuri,
16                                  and William Thomas
17
          113. Plaintiff incorporates the preceding paragraphs as though set forth
18
   herein.
19
          114. ERISA § 406(a)(1), 29 U.S.C. § 1106(a)(1), requires that a plan
20
   fiduciary “shall not cause the plan to engage in a transaction, if he knows or should
21
   know that such transaction constitutes a direct or indirect (A) sale or exchange, or
22
   leasing of any property between the plan and a party in interest,” or a “(D) transfer
23
   to, or use by or for the benefit of, a party in interest, of any assets of the plan.”
24
          115. ERISA § 3(14), 29 U.S.C. § 1002(14) defines a “party in interest” to
25
   include (A) any fiduciary … of such employee benefit plan”, (E) a relative --
26
   which includes a spouse, ancestor, lineal descendant or the spouse of a lineal
27
   descendant -- of a fiduciary, (G) a trust of or in which 50 percent or more the
28
   FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 31 of 53 Page ID #:3357




 1 beneficial interest of such trust is held by a fiduciary of such plan, and (H) an
 2 employee, officer or director or a 10 percent or more shareholder of an employer
 3 covered by the Plan.
 4         116. At least as a result of being a fiduciary of the ESOP, and as a result of
 5 being an officer of and director of KPC, Defendant Dr. Kali Pradip Chaudhuri
 6 qualified as a party in interest within the meaning of ERISA § 3(14).
 7         117. At least as a result of being a fiduciary of the ESOP, and as a result of
 8 being an officer of and director of KPC, Defendant Thomas qualified as a party in
 9 interest within the meaning of ERISA § 3(14).
10         118. ERISA § 408(e), 29 U.S.C. § 1108(e) provides a conditional
11 exemption from the prohibited transaction rules for sale of employer securities to
12 or from a plan if a sale is made for adequate consideration. The burden is on the
13 fiduciary and the parties-in-interest to demonstrate that conditions for the
14 exemption are met.
15         119. ERISA § 3(18)(B) defines adequate consideration as “the fair market
16 of the asset as determined in good faith by the trustee or named fiduciary.” ERISA
17 § 3(18)(B) requires that the fiduciary or party-in-interest show that the price paid
18 must reflect the fair market value of the asset at the time of the transaction, and the
19 fiduciary conducted a prudent investigation to determine the fair market value of
20 the asset.
21         120. As Trustee, Alerus caused the Plan to engage in a prohibited
22 transaction in violation of ERISA §§ 406(a)(1)(A) and (D), 29 U.S.C. §§
23 1106(a)(1)(A) and (D), by failing to ensure that the ESOP paid no more than fair
24 market value for KPC stock purchased in the 2015 ESOP Transaction. Specifically,
25 the ESOP paid more than fair market value for shares sold by Defendant Kali
26 Pradip Chaudhuri.
27         121. As an officer and director of KPC, a fiduciary of the ESOP in the
28 2015 ESOP Transaction, as the purchaser of Integrated Health and the selling
   FIRST AMENDED CLASS ACTION COMPLAINT
                                         31
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 32 of 53 Page ID #:3358




 1 shareholder of KPC in the 2015 ESOP Transaction, Defendant Kali Pradip
 2 Chaudhuri was aware of facts sufficient to establish that the 2015 ESOP
 3 Transaction constituted a prohibited transaction with parties-in-interest. As a party
 4 in interest, Defendant Kali Pradip Chaudhuri is liable for the violations of ERISA §
 5 406(a)(1)(A) and (D), 29 U.S.C. § 1106(a)(1)(A) and (D).
 6         122. As an officer and director of KPC, a fiduciary of the ESOP in the
 7 2015 ESOP Transaction,
 8                        Defendant William Thomas was aware of facts sufficient to
 9 establish that the 2015 ESOP Transaction constituted a prohibited transaction with
10 parties-in interest. As a party in interest, Defendant William Thomas is liable for
11 the violations of ERISA § 406(a)(1)(A) and (D), 29 U.S.C. § 1106(a)(1)(A) and
12 (D).
13
                                      COUNT II
14       Engaging in Prohibited Transaction Forbidden by ERISA §§ 406(b),
15     29 U.S.C. §§ 1106(b), Against Dr. Defendants Kali Pradip Chaudhuri and
                                   William Thomas
16
           123. Plaintiff incorporates the preceding paragraphs as though set forth
17
     herein.
18
           124. ERISA § 406(b), 29 U.S.C. § 1106(b), mandates that a plan fiduciary
19
     shall not (1) “act in any transaction involving the plan on behalf of a party (or
20
     represent a party) whose interests are adverse to the interests of the plan or the
21
     interests of its participants,” or (2) “deal with the assets of the plan in his own
22
     interest or for his own account,” or (3) “receive any consideration for his own
23
     personal account from any party dealing with such plan in connection with a
24
     transaction involving the assets of the plan.”
25
           125. As chairman of the Board of Directors of KPC and in turn a member
26
     of the ESOP Committee, Defendant Kali Pradip Chaudhuri was a fiduciary of the
27
     ESOP at the time of the 2015 ESOP Transaction.
28
     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 33 of 53 Page ID #:3359




 1        126. As a member of the Board of Directors of KPC and in turn a member
 2 of the ESOP Committee, Defendant Thomas was a fiduciary of the ESOP at the
 3 time of the 2015 ESOP Transaction.
 4        127. By selling his shares of KPC stock to the Plan in the 2015 ESOP
 5 Transaction, Dr. Chaudhuri acted in a transaction involving a plan where his own
 6 interests were adverse to those of the ESOP within the meaning of ERISA §
 7 406(b)(1), he dealt with the assets of the Plan, which purchased his KPC stock, in
 8 his own interest within the meaning of ERISA § 406(b)(2), and as a result of the
 9 receipt of the proceeds from the sale of his KPC stock received consideration for
10 the his own personal account in connection with a transaction involving assets of a
11 plan within the meaning of ERISA § 406(b)(3).
12        128. ERISA § 408(e), 29 U.S.C. § 1108(e) provides a conditional
13 exemption from the prohibited transaction rules for sale of employer securities to
14 or from a plan if a sale is made for adequate consideration. The burden is on the
15 fiduciary to demonstrate that conditions for the exemption are met.
16        129. ERISA § 3(18)(B) defines adequate consideration as “the fair market
17 of the asset as determined in good faith by the trustee or named fiduciary.” ERISA
18 § 3(18)(B) requires that the price paid must reflect the fair market value of the
19 asset, and the fiduciary must conduct a prudent investigation to determine the fair
20 market value of the asset.
21        130. By selling his shares of KPC stock to the KPC ESOP in the 2015
22 ESOP Transaction, Defendant Kali Pradip Chaudhuri engaged in a prohibited
23 transaction in violation of ERISA §§ 406(b), 29 U.S.C. §§ 1106(b) for which he is
24 liable to restore the losses caused by these prohibited transactions, to disgorge
25 profits or other appropriate remedial and equitable relief.
26        131.
27
28
     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 34 of 53 Page ID #:3360




 1
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 4                 .
 5         132. As an officer and director of KPC, a fiduciary of the ESOP in the
 6 2015 ESOP Transaction, as the purchaser of Integrated Health, and as the selling
 7 shareholder of KPC in the 2015 ESOP Transaction, Defendant Dr. Kali Pradip
 8 Chaudhuri was aware of facts sufficient to establish that the 2015 ESOP
 9 Transaction constituted a prohibited transaction with a Plan fiduciary, Mr. Thomas.
10 As a party in interest, Defendant Kali Pradip Chaudhuri is liable for the violations
11 of ERISA § 406(b), 29 U.S.C. § 1106(b), and/or is subject to appropriate equitable
12 relief for the violations of ERISA § 406(b), 29 U.S.C. § 1106(b).
13         133. As an officer and director of KPC, a fiduciary of the ESOP in the
14 2015 ESOP Transaction,
15                     , Defendant William Thomas was aware of facts sufficient to
16 establish that the 2015 ESOP Transaction constituted a prohibited transaction with
17 a Plan fiduciary, Dr. Chaudhuri. As a party in interest, Defendant William Thomas
18 is liable for the violations of ERISA § 406(b), 29 U.S.C. § 1106(b), and/or is
19 subject to appropriate equitable relief for the violations of ERISA § 406(b), 29
20 U.S.C. § 1106(b).
21
                                      COUNT III
22          Breach of Fiduciary Duty Under ERISA §§ 404(a)(1)(A) and (B),
23    29 U.S.C. §§ 1104(a)(1)(A) and (B) Against Defendant Alerus, and Knowing
       Participation in Such Breaches by Defendants Kali Pradip Chaudhuri and
24                                 William Thomas
25
           134. Plaintiff incorporates the preceding paragraphs as though set forth
26
     herein.
27
28
     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 35 of 53 Page ID #:3361




 1        135. ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), requires that a plan
 2 fiduciary discharge his or her duties with respect to a plan solely in the interest of
 3 the participants and beneficiaries, (A) for the exclusive purpose of providing
 4 benefits to participants and the beneficiaries of the plan, (B) with the care, skill,
 5 prudence, and diligence under the circumstances then prevailing that a prudent
 6 person acting in a like capacity and familiar with such matters would use in the
 7 conduct of an enterprise of a like character and with like aims.
 8        136. In the context of a transaction involving the assets of the Plan, the
 9 duties of loyalty under ERISA § 404(a)(1)(A) and prudence under ERISA §
10 404(a)(1)(B) require a fiduciary to undertake an appropriate investigation to
11 determine that the plan and its participants receives adequate consideration for the
12 plan’s assets and the participants’ account in the plan.
13        137. Pursuant to ERISA § 3(18), adequate consideration for an asset for
14 which there is no generally recognized market means the fair market value of the
15 asset determined in good faith by the trustee or named fiduciary pursuant to the
16 terms of the plan and in accordance with the Department of Labor regulations.
17        138. To fulfill its fiduciary duties, Alerus was required to undertake an
18 appropriate and independent investigation of the fair market value of KPC stock in
19 the 2015 ESOP Transaction in order to fulfill its fiduciary duties. Among other
20 things, Alerus was required to conduct a thorough and independent review of any
21 “independent appraisal,” to make certain that reliance on any and all valuation
22 experts’ advice was reasonably justified under the circumstances of the 2015 ESOP
23 Transaction; to make an honest, objective effort to read and understand the
24 valuation reports and opinions and question the methods and assumptions that did
25 not make sense.
26        139. An appropriate investigation would have revealed that the valuations
27 used for and the price paid by the ESOP in the 2015 ESOP Transaction did not
28 reflect the fair market value of the KPC stock purchased by the Plan, the 2015
   FIRST AMENDED CLASS ACTION COMPLAINT
                                            35
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 36 of 53 Page ID #:3362




 1 ESOP Transaction was not in the best interests of the Plan participants and the
 2 2015 ESOP Transaction would cause the ESOP to take on excessive debt.
 3        140. Additionally, Alerus was required to remedy the ESOP’s overpayment
 4 for KPC stock after the date of the 2015 ESOP Transaction, including as necessary
 5 correcting the prohibited transaction by seeking the overpayment from Defendant
 6 Kali Pradip Chaudhuri and/or the breaching Trustee.
 7        141. By causing the ESOP to engage in the 2015 ESOP Transaction and
 8 failing to correct the 2015 ESOP Transaction, Alerus breached its fiduciary duties
 9 under ERISA § 404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1)(A), (B) and caused
10 losses to the Plan and the accounts of the Class Members.
11        142. As an officer and director of KPC, a fiduciary of the ESOP in the
12 2015 ESOP Transaction, and as the purchaser of Integrated Health, the selling
13 shareholder of KPC in the 2015 ESOP Transaction, Defendant Kali Pradip
14 Chaudhuri was aware of sufficient facts that Alerus causing the ESOP to engage in
15 the 2015 ESOP Transaction constituted a breach of fiduciary duty. As a party in
16 interest who knowingly participated in the 2015 ESOP Transaction, Defendant Dr.
17 Chaudhuri is liable for the violations of ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1)
18 and/or is subject to appropriate equitable relief for the violations of ERISA §
19 404(a)(1), 29 U.S.C. § 1104(a)(1).
20        143. As an officer and director of KPC, a fiduciary of the ESOP in the
21 2015 ESOP Transaction,
22                      Defendant Thomas was aware of sufficient facts that Alerus
23 causing the ESOP to engage in the 2015 ESOP Transaction constituted a breach of
24 fiduciary duty. As a party in interest who knowingly participated in the 2015 ESOP
25 Transaction, Defendant Thomas is liable for the violations of ERISA § 404(a)(1),
26 29 U.S.C. § 1104(a)(1) and/or is subject to appropriate equitable relief for the
27 violations of ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1).
28
     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 37 of 53 Page ID #:3363




 1                                    COUNT IV
      Failure to Disclose Information Required by ERISA § 102, 29 U.S.C. § 1022
 2        Against the ESOP Committee Defendants as the Plan Administrator
 3         144. Plaintiff incorporates the preceding paragraphs as though set forth
 4 herein.
 5         145. As the Plan Administrator within the meaning of ERISA § 3(16)(A),
 6 29 U.S.C. § 1002(16)(A), the ESOP Committee Defendants were obligated to
 7 comply with ERISA §§ 102 and 104(b), 29 U.S.C. § 1022 and 1024(b).
 8         146. ERISA § 102, 29 U.S.C. § 1022 mandates that an SPD “be furnished
 9 to participants and beneficiaries as provided in [ERISA 104(b), 29 U.S.C. §]
10 1024(b)” and include the information set forth in ERISA § 102(a) & (b), 29 U.S.C.
11 § 1022(a) & (b). The DOL Regulation, 29 C.F.R. § 2520.102-3, governing the
12 “contents of the summary plan description,” requires that “the summary plan
13 description must accurately reflect the contents of the plans” and sets forth specific
14 information that must be required in the SPD.
15         147. Pursuant to ERISA § 104(b)(1), 29 U.S.C. § 1024(b)(1) the Plan
16 Administrator was required to furnish a current version of the SPD and any
17 modifications and changes (A) to new participants within 90 days after that person
18 became a participant and (B) to every participant in the Plan with an updated copy
19 of an SPD to extent that there had been changes within the last 5 years concerning
20 information described in 29 U.S.C. § 1022.
21         148. As the Plan Administrator within the meaning of ERISA § 3(16)(A),
22 29 U.S.C. § 1002(16)(A) and a named fiduciary within the meaning of ERISA §
23 402(a), 29 U.S.C. § 1102(a), the ESOP Committee Defendants had fiduciary duties
24 pursuant to ERISA § 404(a), 29 U.S.C. § 1104(a).
25         149. ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), requires that a plan
26 fiduciary discharge his or her duties with respect to a plan solely in the interest of
27 the participants and beneficiaries and (A) for the exclusive purpose of (i) providing
28
     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 38 of 53 Page ID #:3364




 1 benefits to participants and their beneficiaries; and …. (B) with “care, skill,
 2 prudence, and diligence.”
 3        150. An ERISA fiduciary’s duty of loyalty and prudence under ERISA §
 4 404(a)(1)(A) and (B) includes a duty to disclose and inform. Those duties not only
 5 require that a fiduciary comply the specific disclosure provisions in ERISA, but
 6 also require (a) a duty not to misinform, (b) an affirmative duty to inform when the
 7 fiduciary knows or should know that silence might be harmful, and (c) a duty to
 8 convey complete and accurate information material to the circumstances of the
 9 participants and beneficiaries.
10        151. The Ninth Circuit has recognized that a participant in an ERISA plan
11 is entitled to know exactly where he stands with respect to the plan, including the
12 benefits to which he or she may be entitled, the circumstances which may preclude
13 him from obtaining benefits, what procedures he must follow to obtain benefits,
14 and who are the persons to whom the management and investment of his plan
15 funds have been entrusted.
16        152. The ESOP’s Summary Plan Description dated September 1, 2017 (the
17 “2017 SPD”) is most recent SPD distributed to participants and the one provided in
18 response to Plaintiff’s ERISA § 104(b) request in February 2019.
19        153. ERISA § 102(b), 29 U.S.C. § 1022(B) mandates that an SPD identify
20 “the name and address of the administrator” of the Plan. 29 C.F.R. § 2520.102-3(f)
21 requires that the SPD accurately disclose “the name, business address and business
22 telephone number of the plan administrator as that term is defined by section 3(16)
23 of the Act.”
24        154. The 2017 SPD does not identify the name, address, or telephone
25 number of the Plan Administrator.
26        155. ERISA § 102(b), 29 U.S.C. § 1022(b) mandates that an SPD must
27 contain the “name and address of the person designated as agent for the service of
28 legal process, if such person is not the administrator.” 29 C.F.R. § 2520.102-3(g)
   FIRST AMENDED CLASS ACTION COMPLAINT
                                              38
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 39 of 53 Page ID #:3365




 1 requires that the SPD identify “[t]he name of the person designated as agent for
 2 service of legal process, and the address at which process may be served on
 3 such person, and in addition, a statement that service of legal process may be made
 4 upon a plan trustee or the plan administrator. While Section 12.4 of the 2017 SPD
 5 identifies the Company as the agent of service of process, the SPD fails to state
 6 that service of process may be made on the trustee or plan administrator.
 7        156. ERISA § 102(b), 29 U.S.C. § 1022(b) mandates that an SPD must
 8 contain the “names, titles, and addresses of any trustee or trustees (if they
 9 are persons different from the administrator).” 29 C.F.R. § 2520.102-3(h) requires
10 that the SPD identify “the name, title and address of the principal place of business
11 of each trustee” of the Plan.
12        157. The 2017 SPD identifies Alerus Financial, N.A. as the Trustee in
13 Section 6.2 but does provide Alerus’s address, or principal place of business.
14        158. By failing to provide an SPD that provides the information required
15 by ERISA § 102 and the DOL Regulations and/or by failing to update the SPD
16 with correct information, the ESOP Committee Defendants, as the Plan
17 Administrator have violated ERISA § 102, 29 U.S.C. § 1022, ERISA § 104(b)(1),
18 29 U.S.C. § 1024(b)(1) and ERISA § 404(a)(1)(A) & (B), 29 U.S.C. §
19 1104(a)(1)(A) & (B).
20
21                                    COUNT V
      Failure to File Annual Report in violation of ERISA § 104, 29 U.S.C. § 1024
22       Against the ESOP Committee Defendants as the Plan Administrator
23        159. Plaintiff incorporates the preceding paragraphs as though set forth
24 herein.
25        160. As the Plan Administrator within the meaning of ERISA § 3(16)(A),
26 29 U.S.C. § 1002(16)(A), the ESOP Committee Defendants were obligated to
27 comply with ERISA §§ 104(a) & (b), 29 U.S.C. § 1024(a) & (b).
28
     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 40 of 53 Page ID #:3366




 1        161. Pursuant to ERISA § 104(a)(1), 29 U.S.C. § 1024(a)(1), the plan
 2 administrator is required to file with the Secretary of the United States Department
 3 of Labor the annual report (i.e., the Form 5500) within 210 days after the close the
 4 plan year. Once field, the Secretary of the Department of Labor is required to
 5 make such annual reports available for inspection to the public.
 6        162. Pursuant to ERISA § 104(b)(3), 29 U.S.C. § 1024(b)(3), the plan
 7 administrator is required to provide a copy of the summary annual report to each
 8 participant and to each beneficiary receiving benefits under the plan, a copy of the
 9 summary annual report.
10        163. The Plan Year for 2018 ended August 31, 2019. As a result, the Form
11 5500 Annual Report for 2018 was due by February 29, 2020. The Form 5500
12 Annual Report for 2018 was not filed until July 9, 2020 (i.e. after the original
13 complaint in this lawsuit was filed).
14        164. By failing to file an annual report as required by ERISA § 104, the
15 ESOP Committee Defendants, as the Plan Administrator violated ERISA § 104(a),
16 29 U.S.C. § 1024(a).
17
                                   COUNT VI
18   Failure to Provide Documents Upon Request Pursuant to ERISA § 104(b)(4),
19    29 U.S.C. § 1024(b)(4) & ERISA § 404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A)
           Against the ESOP Committee Defendants as Plan Administrator
20
21        165. Plaintiff incorporates the preceding paragraphs as though set forth
22 herein.
23        166. ERISA § 104(b)(4), 29 U.SC. § 1024(b)(4), provides that the
24 administrator of an employee benefit plan “shall, upon written request of any
25 participant or beneficiary, furnish a copy” of certain enumerated documents as well
26 as “other instruments under which the plan is established or operated” to the
27 requesting participant or beneficiary within 30 days of the Request.
28
     FIRST AMENDED CLASS ACTION COMPLAINT
                                 40
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 41 of 53 Page ID #:3367




 1        167. The Ninth Circuit has also recognized that a fiduciary’s duty under
 2 ERISA § 404(a)(1)(A) to disclose is not limited to those specified in the statute,
 3 but extends to additional disclosures to the extent that they relate to the provision
 4 of benefits or the defrayment of expenses.
 5        168. By a letter dated February 28, 2019, sent by certified mail to the KPC
 6 ESOP Plan Administrator pursuant to and referencing ERISA § 104(b) and
 7 404(a)(1), Plaintiff Danielle Gamino requested that the Plan Administrator provide
 8 the documents specified by ERISA 104(b). Among the documents specifically
 9 requested by Ms. Gamino’s letter was any valuation or other document used to
10 determine the price at which her shares had been allocated and a copy of the most
11 recent valuation and other documents setting forth how the value of her shares was
12 determined. Plaintiff’s letter was received at the address in the SPD for KPC by no
13 later than March 11, 2019.
14        169. In a letter dated April 18, 2019, Allison Wilkerson, a partner at the
15 law firm of McDermott Will & Emery in Dallas, Texas responded to Plaintiff’s
16 February 28, 2019 letter. This was the first response to Plaintiff’s ERISA § 104(b)
17 request, which was sent by Ms. Wilkerson to Ms. Gamino by email on April 18,
18 2019, 38 days after the February 28, 2019 request was received.
19        170. Enclosed with April 18, 2019 letter were some of the documents that
20 Plaintiff had requested including the 2017 SPD, which was identified as the
21 “current summary plan description;” however, Ms. Wilkerson advised that the Plan
22 Administrator would not provide copies of the valuations that Ms. Gamino had
23 specifically requested.
24        171. In letter dated April 22, 2019, Plaintiff responded to Ms. Wilkerson
25 and cited authorities in this Circuit and District recognizing that ESOP valuations
26 must be disclosed in response to a request pursuant to ERISA § 104(b)(4).
27
28
     FIRST AMENDED CLASS ACTION COMPLAINT
                                 41
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 42 of 53 Page ID #:3368




 1         172. In a letter dated May 4, 2019, Theodore Becker, “writing on behalf of
 2 the Plan Administrator of the” ESOP responded to Plaintiff’s April 22, 2019 letter
 3 and again refused to produce the valuations.
 4         173. By failing to respond to Ms. Gamino’s February 28, 2019 request
 5 within 30 days and by failing to provide the requested valuations, the ESOP
 6 Committee Defendants as the Plan Administrator violated ERISA §§ 104(b) and
 7 404(a)(1)(A), 29 U.S.C. §§ 1024(b) and 1104(a)(1)(A).
 8         174. Pursuant to ERISA § 502(a)(1)(A) a participant may sue for the relief
 9 provided in ERISA § 502(c). Pursuant to ERISA § 502(c), 29 U.S.C. § 1132(c),
10 “[a]ny administrator . . . who fails or refuses to comply with a request for any
11 information which such administrator is required by [ERISA] to furnish” by
12 mailing the requested material to “the requesting participant . . . within 30 days
13 after such request” may be liable for up to $110 per day in civil penalties. As a
14 result of the failure to produce the requested documents, the Plan Administrator is
15 liable for the penalties available under ERISA § 502(c).
16         175. By breaching their fiduciary duties to Plaintiff Gamino pursuant to
17 ERISA § 404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A), the Committee Defendants
18 should be liable via surcharge to the equivalent of the penalty under ERISA §
19 502(c).
20
                                        COUNT VII
21             Breach of Fiduciary Duty Under ERISA §§ 404(a)(1)(A) and (B),
22             29 U.S.C. §§ 1104(a)(1)(A) and (B) Against Director Defendants
                                           & KPC
23
           176. Plaintiff incorporates the preceding paragraphs as though set forth
24
     herein.
25
           177. ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), requires that a plan
26
     fiduciary discharge his or her duties with respect to a plan solely in the interest of
27
     the participants and beneficiaries, (A) for the exclusive purpose of providing
28
     FIRST AMENDED CLASS ACTION COMPLAINT
                                 42
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 43 of 53 Page ID #:3369




 1 benefits to participants and the beneficiaries of the plan, (B) with the care, skill,
 2 prudence, and diligence under the circumstances then prevailing that a prudent
 3 person acting in a like capacity and familiar with such matters would use in the
 4 conduct of an enterprise of a like character and with like aims, and (D) in
 5 accordance with the documents and instruments governing the plan insofar as such
 6 documents and instruments are consistent with ERISA.
 7        178. Under ERISA § 404(a)(1)(A) and (B), a fiduciary with the authority to
 8 appoint and/or remove other fiduciaries has an obligation to undertake an
 9 appropriate investigation that the fiduciary is qualified to serve in the position as
10 fiduciary and at reasonable intervals to ensure that the fiduciary who has been
11 appointed remains qualified to act as fiduciary and is acting in compliance with the
12 terms of the Plan and in accordance with ERISA.
13        179. According to Section 11.15 of the Plan Document (and consistent
14 with Section 6.2 of the Trust Agreement), KPC “has the sole authority to appoint
15 and remove the Trustee.” Pursuant to that authority, KPC had a duty to monitor the
16 Trustee’s conduct and to take appropriate action if the Trustee was not adequately
17 protecting the interests of ESOP participants, including removing the Trustee and
18 correcting any breaches.
19        180. According to Section 1.33 of the Plan Document, the members of the
20 ESOP Committee are appointed by the Board of Directors. Section 9.1 of the Plan
21 Document provides that KPC “may appoint an ESOP Committee to administer this
22 Plan.” Section 11.15 of the Plan Document provides that KPC “has the sole
23 authority to appoint and remove the Trustee.” Pursuant to that authority, KPC
24 (through the Board of Directors) had a duty to monitor the ESOP Committee’s
25 conduct and to take appropriate action if the Committee Defendants were not
26 adequately protecting the interests of ESOP participants, including removing them
27 and correcting any breaches.
28
     FIRST AMENDED CLASS ACTION COMPLAINT
                                 43
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 44 of 53 Page ID #:3370




 1        181. Defendant KPC knew or in the exercise of reasonable diligence
 2 should have known that Alerus as Trustee breached its fiduciary duties and
 3 engaged in prohibited transactions as set forth in Counts I, II and III because (a)
 4 Defendant Kali Pradip Chaudhuri was aware of facts sufficient to establish that the
 5 2015 ESOP Transaction constituted a prohibited transaction, including the terms of
 6 the 2015 ESOP Transaction and that the 2015 ESOP Transaction share price did
 7 not reflect fair market value for the stock of KPC, (b) Defendant Kali Pradip
 8 Chaudhuri knew that Alerus caused and closed the 2015 ESOP Transaction and
 9 took no steps to protect the Plan participants or to otherwise remedy the violations
10 and (c) the knowledge of Defendant Kali Pradip Chaudhuri is imputed to KPC.
11        182. Defendants Dr. Chaudhuri, William Thomas, and Kali Priyo
12 Chaudhuri knew that Alerus had breached its fiduciary duties and engaged in
13 prohibited transactions because they were officers and directors of KPC at the time
14 of the 2015 ESOP Transaction and as to Dr. Chaudhuri and Defendant Thomas
15 were parties to the 2015 ESOP Transaction.
16        183. Defendants Hippert and van Arsdale knew or should have known that
17 Alerus had breached its fiduciary duties because once they joined the Board of
18 Directors (and thus the ESOP committee) and had responsibility for reviewing the
19 performance of Alerus. Had Hippert and van Arsdale conducted an appropriate
20 review of the performance of Alerus after the Transaction, including a review of
21 the post-performance stock price, they would have concluded that an investigation
22 should have been conducted about or a correction made concerning the 2015 ESOP
23 Transaction.
24        184. The Director Defendants knew that the ESOP Committee breached its
25 fiduciary duties or other statutory obligations as set forth in Counts IV-VI because
26 the Director Defendants were all members of the ESOP Committee at the time of
27 the violations. To the extent that the power to remove the members of the ESOP
28
     FIRST AMENDED CLASS ACTION COMPLAINT
                                 44
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 45 of 53 Page ID #:3371




 1 Committee belonged to someone at KPC other than the Board of Directors, the
 2 knowledge of the Board of Directors is imputed to KPC.
 3        185. Despite knowing of the facts about these breaches by the ESOP
 4 Committee, nether KPC nor the Director Defendants took any steps to protect the
 5 ESOP participants from these breaches and violations, including by stopping or
 6 delaying the 2015 ESOP Transaction, removing the—or as to the Director
 7 Defendants, resigning as—members of the ESOP Committee, appointing successor
 8 members and/or remedying these breaches.
 9        186. By failing to properly monitor and/or take appropriate action against
10 the Trustee, KPC and/or the Director Defendants breached their fiduciary duties
11 under ERISA § 404(a)(1)(A) & (B), 29 U.S.C. § 1104(a)(1)(A) & (B).
12
13                                   COUNT VIII
           Violation of ERISA § 410 & Breach of Fiduciary Under ERISA
14       §§ 404(a)(1)(A) and (B), 29 U.S.C. § 1110 & §§ 1104(a)(1)(A) and (B)
15               Against KPC, Alerus and the Committee Defendants

16        187. Plaintiff incorporates the preceding paragraphs as though fully set

17 forth herein.
18        188. ERISA § 410(a), 29 U.S.C. § 1110(a), provides in relevant part (with

19 exceptions not applicable here) that “any provision in an agreement or instrument
20 which purports to relieve a fiduciary from responsibility or liability for any
21 responsibility, obligation, or duty under this part [ERISA Part IV] shall be void as
22 against public policy.” As Part IV of ERISA includes ERISA §§ 404, 405, and
23 406, 29 U.S.C. §§ 1104, 1105 and 1106, any provision that attempts to relieve a
24 fiduciary of liability is void pursuant to ERISA § 410(a), unless there is an
25 exception or exemption. No such exception or exemption is applicable here.
26       189. The DOL Regulations promulgated under ERISA § 410, 29 C.F.R.

27 § 2509.75-4, renders “void any arrangement for indemnification of a fiduciary of
28 an employee benefit plan by the plan” because it would have “the same result as an
     FIRST AMENDED CLASS ACTION COMPLAINT
                                 45
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 46 of 53 Page ID #:3372




 1 exculpatory clause, in that it would, in effect, relieve the fiduciary of responsibility
 2 and liability to the plan by abrogating the plan’s right to recovery from the
 3 fiduciary for breaches of fiduciary obligations.”
 4         190. For a 100% ESOP-owned company, a provision requiring indemnity
 5 by the ESOP-owned company is treated as an indemnity provision by the Plan
 6 because it effectively requires ESOP participants to pay for the costs of the
 7 breaching fiduciaries’ liability.
 8         191. Section 9.1 of the KPC Healthcare, Inc. Trust effective April 1, 2015
 9 provides that “the Company shall indemnify the Indemnitees [including the
10 Trustee] for any Expense (as herein defined) incurred or Loss (as herein defined
11 suffered by any of the Indemnitees resulting from or incurred with respect to any
12 Proceedings (as herein defined) related in any way to the performance of services
13 by any one or more of the Indemnitees pursuant to this Agreement.”
14         192. Section 7.3 of the KPC Healthcare, Inc. Employee Stock Ownership
15 Plan effective April 1, 2015 provides that KPC “indemnifies and holds harmless
16 the Plan Administrator (if any) and any person or persons delegated with the
17 power, duty, and responsibility to act on behalf of the Plan Administrator, from
18 and against any and all loss resulting from liability to which the Plan Administrator
19 or any person or persons delegated with the power, duty, and responsibility to act
20 of behalf of the Plan Administrator, may be subjected by any reason of any act or
21 conduct (except willful misconduct or gross negligence) associated with such
22 persons’ official capacities in the administration of this Plan, including all court
23 costs and other expenses reasonably incurred in connection with the defense of
24 such persons….”
25         193.    As these instruments governing the relationship between either the
26 Trustee or the Plan Administrator and KPC attempt to relieve the Trustee and the
27 Plan Administrator (or the members of the Committee) of his, her or its
28 responsibility or liability to discharge his or her fiduciary duties or to have KPC
   FIRST AMENDED CLASS ACTION COMPLAINT
                                              46
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 47 of 53 Page ID #:3373




 1 (an ESOP-owned company) and thereby the ESOP be responsible for his or her
 2 liability or breaches, such agreements or other instruments are void as against
 3 public policy.
 4        194. To the extent that Defendants would agree to such a provision that is
 5 void against public policy under ERISA § 410, Defendants breached their fiduciary
 6 duties under ERISA by failing to discharge their duties with respect to the Plan
 7 solely in the interest of the participants and beneficiaries (A) for the exclusive
 8 purpose of providing benefits to participants and beneficiaries and (B) with the
 9 care, skill, prudence and diligence under the circumstances then prevailing that a
10 prudent person acting in a like capacity and familiar with such matters would use
11 in the conduct of an enterprise of like character and aims, in violation of ERISA §
12 404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1)(A) and (B).
13        195. As such these indemnification provisions in these instruments (or any
14 similar agreements) governing the relationship between Defendants and KPC
15 should be declared void ab initio and should be reformed to strike or modified
16 accordingly.
17        196. As a result, Alerus and the Committee Defendants should be ordered
18 to disgorge any indemnification payments made by KPC and/or the ESOP, plus
19 interest.
20                                  COUNT IX
          Co-Fiduciary Liability Pursuant to ERISA § 405, 29 U.S.C. § 1105
21       Against the Committee Defendants, Director Defendants, Kali Pradip
22                    Chaudhuri, Alerus, and William Thomas

23        197. Plaintiff incorporates the preceding paragraphs as though fully set

24 forth herein.
25        198. ERISA § 405, 29 U.S.C. § 1105, makes a fiduciary of a Plan liable for

26 another fiduciary of the same plan’s breach when (1) “he participates knowingly
27 in, or knowingly undertakes to conceal, an act or omission of such other fiduciary,
28 knowing such act or omission of such other fiduciary is a breach;” (2) “by his
   FIRST AMENDED CLASS ACTION COMPLAINT
                                          47
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 48 of 53 Page ID #:3374




 1 failure to comply with section 404(a)(1) in the administration of his specific
 2 responsibilities which give rise to his status as a fiduciary, he has enabled such
 3 other fiduciary to commit a breach;” or (3) “he has knowledge of a breach by such
 4 other fiduciary, unless he makes reasonable efforts under the circumstances to
 5 remedy the breach.”
 6        199. The Committee Defendants violated ERISA § 405(a)(1)-(3) when
 7 they knowingly participated in each other’s violations when they acted as a
 8 Committee because (1) they each participated knowingly in the actions taken as a
 9 Committee and knew or were reckless in not knowing it was a breach, (2) failed to
10 fulfill their duties as members of the Committee set forth in the Plan Document
11 and (3) had knowledge of those breaches and made no apparent efforts to remedy
12 the breach. As such, each of the Committee Defendants is liable for the breaches of
13 the other members of the committee pursuant to ERISA § 405(a)(1)-(3).
14        200. The Director Defendants violated ERISA § 405(a)(1) and (3) when
15 they knowingly participated in each other’s violations when they acted as a board
16 because they each participated knowingly in the actions taken as a board, knew or
17 were reckless in not knowing it was a breach, and had knowledge of those breaches
18 and made no apparent efforts to remedy the breach. As such, each of the Director
19 Defendants is liable for the breaches of the other members of the committee
20 pursuant to ERISA § 405(a)(1), (3).
21        201. Defendants Kali Pradip Chaudhuri, Alerus, and William Thomas
22 violated ERISA § 405(a)(1) and (3) when they knowingly participated in each
23 other’s respective prohibited transactions because they each participated
24 knowingly in the respective prohibited transactions, had knowledge of those
25 breaches, and made no apparent efforts to remedy the breaches. As such, each of
26 them is liable for the breaches of the others as to each of those transactions
27 pursuant to ERISA § 405(a)(1) and (3).
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     FIRST AMENDED CLASS ACTION COMPLAINT
                                 48
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 49 of 53 Page ID #:3375




 1                            ENTITLEMENT TO RELIEF
 2        202.    By virtue of the violations set forth in the foregoing paragraphs,
 3 Plaintiff and the Class are entitled to sue each of the Defendants who are
 4 fiduciaries pursuant to ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2), for relief on
 5 behalf of the Plan as provided in ERISA § 409, 29 U.S.C. § 1109, including for
 6 recovery of any losses to the Plan, the recovery of any profits resulting from the
 7 breaches of fiduciary duty, and such other equitable or remedial relief as the Court
 8 may deem appropriate.
 9        203. By virtue of the violations set forth in the foregoing paragraphs,
10 Plaintiff and the Class are entitled pursuant to ERISA § 502(a)(3), 29 U.S.C. §
11 1132(a)(3), to sue any of the Defendants for any appropriate equitable relief to
12 redress the wrongs described above.
13                                PRAYER FOR RELIEF
14        Wherefore, Plaintiff on behalf of herself and the Class, pray that judgment
15 be entered against Defendants on each claim and be awarded the following relief:
16        A.      Declare that Defendants have each breached their fiduciary duties
17 under ERISA;
18        B.      Declare that Defendants Alerus and Defendant Kali Pradip Chaudhuri
19 have each engaged in prohibited transactions in violation of ERISA §§ 406(a)-(b),
20 29 U.S.C. §§ 1106(a)-(b), by causing the ESOP to engage in the 2015 ESOP
21 Transaction;
22        C.      Enjoin Defendants, and each of them, from further violations of their
23 fiduciary responsibilities, obligations and duties;
24        D.      Remove each of the Defendants as fiduciaries of the ESOP and/or bar
25 each of them from serving as fiduciaries of the ESOP in the future, and appoint a
26 new independent fiduciary to manage the ESOP and order the costs of such
27 independent fiduciary be paid for by Defendants;
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     FIRST AMENDED CLASS ACTION COMPLAINT
                                 49
Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 50 of 53 Page ID #:3376




 1         E.     Order that Defendants found to have breached his/her/its fiduciary
 2 duties to the ESOP to jointly and severally restore all the losses resulting from their
 3 breaches or by virtue of liability pursuant to ERISA § 405, and disgorge all profits
 4 they have made through use of assets of the ESOP;
 5         F.     Order that Defendants provide other appropriate equitable relief to the
 6 ESOP, including but not limited to, by forfeiting their ESOP accounts, providing
 7 an accounting for profits, imposing a constructive trust and/or equitable lien on any
 8 funds wrongfully held by any of the Defendants;
 9         G.     Order pursuant to ERISA § 206(d)(4) that any amount to be paid to
10 the ESOP accounts of the Class can be satisfied by using or transferring any
11 breaching fiduciary’s ESOP account in the Plan (or the proceeds of that account) to
12 the extent of that fiduciary’s liability.
13         H.     Order the Plan Administrator to provide a Summary Plan Description
14 that complies with ERISA § 102, 29 U.S.C. § 1022 and to file an Annual Report
15 pursuant to ERISA § 104, 29 U.S.C. § 104.
16         I.     Award Plaintiff Gamino statutory penalties in the amount of $110 per
17 day, per violation, for the failure to provide each of the requested documents that
18 the Plan Administrator failed to provide or to the extent appropriate a surcharge
19 against the Committee Defendants in an equivalent amount.
20         J.     Declare that any indemnification agreement between the Defendants,
21 or any of them, and KPC or the ESOP violates ERISA § 410, 29 U.S.C. § 1110,
22 and is therefore null and void.
23         K.     Order Defendants to reimburse the ESOP or KPC for any money
24 advanced by the ESOP or KPC, respectively, under any indemnification agreement
25 or other instrument between Defendants and the ESOP or KPC;
26         L.     Require Defendants to pay attorneys’ fees and costs pursuant to
27 ERISA § 502(g), 29 U.S.C. § 1132(g), and/or ordering payment of fees and
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     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 51 of 53 Page ID #:3377




 1 expenses to Plaintiff’s counsel on the basis of the common benefit or common fund
 2 doctrine out of any money recovered for the Class;
 3        M.     Order Alerus to disgorge any fees they received in conjunction with
 4 the 2015 ESOP Transaction;
 5        N.     Order that Defendants and each of them provide other appropriate
 6 equitable relief to the Plan, including but not limited to rescission, surcharge,
 7 providing an accounting for profits, and imposing a constructive trust and/or
 8 equitable lien on any funds wrongfully held by Defendants;
 9        O.     Award pre-judgment interest and post-judgment interest; and
10        P.     Award such other and further relief that the Court determines that
11 Plaintiff and the Class are entitled to pursuant to ERISA § 502(a), 29 U.S.C. §
12 1132(a) or pursuant to Rule 54(c) of the Federal Rules of Civil Procedure or that is
13 equitable and just.
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     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 52 of 53 Page ID #:3378




 1 Dated: August 13, 2021             Respectfully submitted,

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     FIRST AMENDED CLASS ACTION COMPLAINT
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Case 5:20-cv-01126-SB-SHK Document 179 Filed 08/13/21 Page 53 of 53 Page ID #:3379




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     FIRST AMENDED CLASS ACTION COMPLAINT
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